
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there was presented and necessarily passed upon a question under, the Constitution of the United States, viz.: Claimant argued that his commitment in 1936 and his retention pursuant to the then existing section 384 of the Correction Law constituted a violation of his rights under the equal protection clause (see Baxstrom v. Herold, 383 U. S. 107), entitling him to damages for his retention in a criminal rather than a civil hospital for the insane.. The Court of Appeals considered this contention and held that claimant had no right to damages based on a retrospective application of Baxstrom v. Herold (supra). Other constitutional issues based on violation of due process raised by claimant were not determinative because the court concluded that he sustained no actionable damages. [See 23 N Y 2d 996.]
